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 7
   Attorneys for Defendant Harbor Freight Tools USA, Inc.
 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE DISTRICT OF ARIZONA
10
11   Nicholas Laguna, an unmarried man,            NO.
12                               Plaintiff,        Pima County Superior Court
                                                   No. C20223728
13   vs.
                                                   DEFENDANT HARBOR FREIGHT
14   Harbor Freight Tools USA, Inc., a             TOOLS USA, INC.’S NOTICE OF
     Delaware corporation; Yuming                  REMOVAL
15   International, Ltd., a Chinese
     corporation; Does I through X; ABC
16   PARTNERSHIPS I through X, and;
     BLACK CORPORATIONS I through
17   X,
18                               Defendants.
19
20         Pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and LRCiv 3.6, Defendant Harbor Freight
21 Tools USA, Inc. (“Harbor Freight”) hereby removes this action from the Superior Court of
22 Arizona, Pima County to the United States District Court for the District of Arizona. Removal
23 is based on diversity jurisdiction under 28 U.S.C. § 1332.
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                                    1         In support of this Notice, Harbor Freight states as follows:
                                    2         1.     On September 12, 2022, Plaintiff Nicholas Laguna (“Laguna”) filed a
                                    3 Complaint against Harbor Freight Tools USA, Inc., and YUMING INTERNATIONAL,
                                    4 LTD., a Chinese corporation; DOES I through X; ABC PARTNERSHIPS I through X, and;
                                    5 BLACK CORPORATIONS in the Superior Court of Arizona, Pima County. See Ex. C
                                    6 Complaint.
                                    7         2.     Harbor Freight was served on November 29, 2022. See Ex. D, Affidavit of
                                    8 Service. Harbor Freight removed this lawsuit within 30 days of service. Therefore, the Notice
                                    9 of Removal is timely pursuant to 28 U.S.C. § 1446(b).
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                                   10         3.     Harbor Freight removes this action based on 28 U.S.C. § 1441(b). There is
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                                   11 complete diversity of citizenship between Plaintiff, Harbor Freight and Yuming International,
                                   12 Ltd., and the amount in controversy exceeds $75,000.
                                   13                                DIVERSITY JURISDICTION
                                   14          4.    This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. §
                                   15 1332(a) because Plaintiff, Harbor Freight and Yuming International, Ltd. are citizens of
                                   16 different states and the amount in controversy exceeds $75,000.
                                   17         5.     Plaintiff is a resident of the State of Arizona in Pima County. See Ex. C,
                                   18 Complaint at 1.
                                   19         6.     Harbor Freight is, and was at the time Plaintiff commenced this action, a
                                   20 corporation organized under the laws of the State of Delaware with its principal place of
                                   21 business in California. Therefore, Harbor Freight is a citizen of both Delaware and California.
                                   22 See 28 U.S.C. § 1332(c)(1).
                                   23         7.     Defendant Yuming International, LTD (hereinafter “Yuming”) is a foreign
                                   24 corporation formed and organized under the laws of the Country of China whose headquarters
                                   25

                                                                                      2
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                                    1 are located at 4F, Noble Center, No. 1006, 3rd Fuzhong Road, Futian District Shenzen,
                                    2 Guangdon, China. See Ex. C, Complaint at 4.
                                    3          8.    Defendants DOES I through X; ABC PARTNERSHIPS I through X, and;
                                    4 BLACK CORPORATIONS I through X are fictitious entities. Plaintiff alleges the true
                                    5 identities of the doe defendants are unknown. See Ex. C, Complaint at 5. Per 28 U.S.C. §
                                    6 1441(b)(1), the citizenship of defendants sued under fictitious names shall be disregarded for
                                    7 determining whether a civil action is removable under 28 U.S.C. § 1332(a).
                                    8          9.    Plaintiff asserts damages in excess of $300,000. See Ex. C, Complaint at 19.
                                    9 Thus, the amount in controversy exceeds the required $75,000.
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                                   10          10.   Because there is complete diversity of citizenship between Plaintiff, Harbor
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                                   11 Freight and Yuming, and because the amount in controversy is greater than $75,000, this
                                   12 Court has diversity jurisdiction over this matter under 28 U.S.C. § 1332(a). Removal based
                                   13 on diversity of citizenship is proper.
                                   14                         CONSENT AND STATE-COURT FILINGS
                                   15          11.   Harbor Freight is the only defendant that has been served in this action. See Ex.
                                   16 D, Affidavit of Service; see also Ex. E, November 29, 2022 Order Granting Plaintiff’s Ex
                                   17 Parte Motion for Order Enlarging Time Within Which to Secure Service of Process Upon
                                   18 Foreign Defendant by 270 days. Therefore, Harbor Freight need not obtain the consent of the
                                   19 other named defendant to remove this action. 28 U.S.C. § 1446(b)(2)(A).
                                   20          12.   Harbor Freight has provided a copy of this Notice of Removal to Plaintiff and
                                   21 has filed a copy of the Notice of Removal with the Clerk of the Pima County Superior Court,
                                   22 pursuant to 28 U.S.C. § 1446(d) and Arizona District Court local Rule 3.6(a). Exhibit G is a
                                   23 copy of the Notice of Removal that Harbor Freight has filed with the Pima County Superior
                                   24 Court.
                                   25

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                                    1        13.    Pursuant to 28 U.S.C. § 1446(a) and Arizona District Court Local Rule 3.6(b),
                                    2 Defendant has attached copies of all process, pleadings and orders served upon them and all
                                    3 pleadings filed by all parties with the Pima County Superior Court prior to this Notice of
                                    4 Removal:
                                    5                    (1) Supplemental Civil Cover Sheet: Ex. A
                                    6                    (2) most recent state court docket: Ex. B
                                    7                    (3) operative complaint: Ex. C
                                    8                    (4) service documents: Ex. D
                                    9                    (5) answers: None
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                                   10                    (6) state court orders terminating or dismissing parties: None
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                                   11                    (7) notices of appearance: None
                                   12                    (8) pending motions, responses, and replies: None
                                   13                    (9) remainder of state court record: Ex E
                                   14                    (10) verification of the removing party or its counsel that true and complete
                                   15                    copies of all pleadings and other documents filed in the state court
                                   16                    proceeding have been filed: Ex. F
                                   17                    (11) Pima County Superior Court Notice of Removal: Ex. G
                                   18
                                   19        DATED this date 19th day of December, 2022
                                   20                                            RUSING LOPEZ & LIZARDI, P.L.L.C.

                                   21
                                                                                 /s/ Patricia V. Waterkotte
                                   22                                                 Patricia V. Waterkotte
                                                                                      Alexander P. Valentine
                                   23                                                 Attorneys for Defendant Harbor Freight Tools
                                                                                      USA, Inc.
                                   24
                                   25

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                                    1                               CERTIFICATE OF SERVICE
                                    2        I hereby certify that a copy of the foregoing was served this 19th day of December,
                                      2022 via Notice of Electronic Filing, generated and transmitted by the ECF system of the
                                    3
                                      District of Arizona, to the following CM/ECF registrants:
                                    4
                                      BREWERWOOD, P.L.L.C.
                                    5
                                      John B. Brewer
                                    6 Dane L. Wood
                                      2398 East Camelback Road, suite 540
                                    7 Phoenix, AZ 85016
                                      John@brewerwood.com
                                    8
                                      Dane@brewerwood.com
                                    9 Attorneys for Plaintiff
Rusing Lopez & Lizardi, P.L.L.C.




                                   10 By: /s/ Joan Harris
 6363 North Swan Road, Suite 151

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     Tucson, Arizona 85718




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